                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


C.I.G.H.,                                    )
      Petitioner,                            )
                                             )      Civil Action No. 3:20-cv-00796
v.                                           )      Judge Campbell / Frensley
                                             )
HEIDI STIRRUP, Acting Director,              )
Office of Refugee Resettlement, et al.,      )
       Respondents.                          )

                                            ORDER

        This matter is before the court upon Guardian Ad Litem’s Motion for Substitution pursuant

to Federal Rules of Civil Procedure 17(a). Docket No. 26. Petitioner has filed a Response in

Opposition to the Motion. Docket No. 34. Government Respondents and Respondent Amy Scott

have filed separate Responses in support of the Motion. Docket No. 30, 31. The Guardian Ad Litem

(“GAL”) and Government Respondents have separately filed replies to Petitioner’s Response.

Docket No. 35, 36.

        The Petitioner, C.I.G.H., submitted through counsel a Petition for a Writ of Habeas Corpus

requesting the Court order his release from the Bethany Christian Services (“BCS”) of Middle

Tennessee to his adoptive mother. Docket No. 1. Petitioner was a twenty-two-month-old child at

the time the Petition was filed. On October 16, 2020, the Respondents submitted an unopposed

Motion to Appoint a Guardian Ad Litem, pursuant to Rule 17(c). Docket No. 5. Then, on December

2, 2020, the Court appointed a GAL for the minor Petitioner. Docket No. 12. Under the Order, the

GAL was to have all of the powers conferred under Tenn. Code Ann. § 34-1-107(d) and under Noe

v. True, 507 F.2d 9 (6th Cir. 1974).

        The GAL argues that the Motion for Substitution should be granted because: (a) as a minor,




     Case 3:20-cv-00796 Document 41 Filed 08/23/21 Page 1 of 13 PageID #: 302
C.I.G.H. lacks capacity to sue in his own name; (b) the GAL is the appropriate Plaintiff in this case

under the powers given by the Court’s Order; and (c) substitution is appropriate under Fed. R. Civ.

P. 17.01. Docket No. 26.

       Petitioner responds that the proper role of the GAL is to complete an investigation and

submit an impartial Report and Recommendation regarding the best interests of the Petitioner.

Docket No. 34, p. 3. The Petitioner also argues that his counsel has relied upon the advice of the

federally-appointed Child Advocate in order to make decisions that were in the best interests of

the Petitioner, and to grant the Motion of Substitution would be to uproot Petitioner’s attorney’s

role and deprive C.I.G.H. of his right to his own attorney. Docket No. 34, p. 3.

       The GAL replies to reiterate that: (a) C.I.G.H. does not have the capacity to sue in his own

name; and (b) the Petitioner did not oppose the GAL’s appointment. Docket No. 36, pp. 1-2. GAL

also notes that: (c) the Child Advocate for Immigration Court is not the same as a GAL for Federal

Court Proceedings. Id.

       For the reasons stated below, the Guardian Ad Litem’s Motion for Substitution be

GRANTED.

                                     I.     BACKGROUND

       C.I.G.H.’s case has an interesting and complex history. C.I.G.H. was an approximately

six-month old citizen of Honduras when he was detained by the Department of Homeland Security

(“DHS”) on May 7, 2019, while attempting to cross the U.S.-Mexico border with Amilcar Guiza

Reyes (Mr. Guiza). Docket No. 1, p. 2. Mr. Guiza had a birth certificate that listed himself as

C.I.G.H.’s father, but upon questioning, Mr. Guiza admitted that he was not the biological father,

but rather the legal adoptive father. Id. at 5. Upon learning that Mr. Guiza was not the biological

father, DHS placed C.I.G.H. into Office of Refugee Resettlement (“ORR”) custody, which sent




                                     2
   Case 3:20-cv-00796 Document 41 Filed 08/23/21 Page 2 of 13 PageID #: 303
him to BCS, where he was placed in a foster home. Id. Mr. Guiza was prosecuted, but not

convicted, of Alien Smuggling, and pled guilty to making a materially false, fictitious, or

fraudulent statement or misrepresentation pursuant to 18 U.S.C. § 1001(a)(2). Id.

           According to the Complaint, C.I.G.H. was adopted by Mr. Guiza and his wife, Clemencia

Hernandez Velasquez (Ms. Hernandez), when he was hours old through an informal adoption

process in Honduras. Id. Mr. Guiza and Ms. Hernandez registered him a week after he was born.

Id. In May 2019, Jena Guiterrez was appointed to be the Child Advocate for C.I.G.H., and Mid-

South Immigration Advocates (“MIA”) began representing C.I.G.H. in September of the same

year. Id. at 6.

           The Young Center established a Best Interests Determination (BID) Panel in order to

determine what would be in C.I.G.H.’s best interests.          The BID issued a best interests

recommendation in which they stated it would be in C.I.G.H.’s best interest if he were released to

Ms. Hernandez. Id. The recommendation emphasized the necessity of reuniting C.I.G.H. with Ms.

Hernandez as soon as possible, and recommended that Ms. Hernandez be categorized as a Category

1 Sponsor. Id.

           BCS conducted a phone call with Ms. Hernandez, but ultimately categorized C.I.G.H. as a

Category 4 unaccompanied child with no viable sponsors within the United States. Id. at 7. The

MIA began to work with Ms. Hernandez to put together her family reunification packet (FRP). Id.

After submitting her FRP and participating in a home study with a federal field specialist (FSS),

Ms. Hernandez was notified on August 27, 2020, that her request to sponsor C.I.G.H. was denied.

Id. 7-9.

           The reasons provided for denying the request were that Mr. Guiza had admitted to paying

for C.I.G.H., Mr. Guiza was convicted of providing fraudulent material regarding the paternity of




                                      3
    Case 3:20-cv-00796 Document 41 Filed 08/23/21 Page 3 of 13 PageID #: 304
C.I.G.H., and Mr. Guiza and Ms. Hernandez are not the biological parents of C.I.G.H. Id. at 9.

       Upon the denial of Ms. Hernandez’s request to sponsor C.I.G.H., on September 16, 2020,

the Petition for a Writ of Habeas Corpus was filed under C.I.G.H.’s name, requesting his release

from BCS to Ms. Hernandez. Id. at 1. The Petitioner claimed that C.I.G.H.’s continued detention

by BCS while a “viable sponsor” (Ms. Hernandez) was available, was in violation of the

Procedural Due Process Clause of the Fifth Amendment to the Constitution, in violation of the

William Wilberforce Trafficking Victims Protection Reauthorization Act (“TVPRA”), in violation

of the Flores Settlement Agreement, and in violation of the Administrative Procedures Act (as an

arbitrary and capricious agency action). Id. at 15-22.

       On October 16, 2020, Respondents submitted a Motion for Appointment of a Guardian Ad

Litem, which was unopposed by the Petitioner, and thus the Court issued an Order appointing a

GAL pursuant to Rule 17. Docket No. 5; 12. Within the Order, the GAL was appointed with “all

the powers of a guardian ad litem appointed under Tenn. Code Ann. § 34-1-107(d) and as directed

in True v. Noe, 507 F. 2d 9 (6th Cir. 1974).” Docket No. 12.

       After the appointment of the GAL, C.I.G.H. continued to be the named Petitioner.

Additionally, a Motion to Amend was filed by the Petitioner against the direction of the GAL on

April 2, 2020. Docket No. 26, p. 2. Following these events, the GAL filed the pending Motion for

Substitution under Fed. R. Civ. P. 17(a). Id.

                                   II.    LAW & ANALYSIS

       A.      Powers Conferred Upon the GAL

       The Motion for Substitution was filed under Fed. R. Civ. P. 17(a), which states:

       (a)     Real Party in Interest

               (1)     Designation in General. An action must be prosecuted in the name
                       of the real party in interest. The following may sue in their own



                                     4
   Case 3:20-cv-00796 Document 41 Filed 08/23/21 Page 4 of 13 PageID #: 305
                        names without joining the person for whose benefit the action is
                        brought:

                        (A)     An executor;
                        (B)     An administrator;
                        (C)     A guardian
                        (D)     A bailee;
                        (E)     A trustee of an express trust
                        (F)     A party with whom or in whose name a contract has
                                been made for another’s benefit; and
                        (G)     A party authorized by statute

                                                       …

               (3)       Joinder of the Real Party in Interest. The court may not dismiss an
                        action for failure to prosecute in the name of the real party in interest
                        until, after an objection, a reasonable time has been allowed for the
                        real party in interest to ratify, join, or be substituted into the action.
                        After ratification, joinder, or substitution, the action proceeds as if
                        it had been originally commenced by the real party in interest.

Fed. R. Civ. P. 17(a)

       The GAL was appointed under Fed. R. Civ. P. 17(c), which states:

       (c) Minor or Incompetent Person:

               (1)      With a Representative. The following representatives may sure or
                        defend on behalf of a minor or an incompetent person:

                        (A) a general guardian;
                        (B) a committee;
                        (C) a conservator; or
                        (D) a like fiduciary.

               (2)      Without a Representative. A minor or an incompetent person who
                        does not have a duly appointed representative may sue by a next
                        friend or by a guardian ad litem—or issue another appropriate
                        order—to protect a minor or incompetent person who is
                        unrepresented in an action.

       The powers conferred upon the GAL by the Order were those conferred by Tenn. Code

Ann. § 34-1-107(d), which states:

       (1)     The guardian ad litem owes a duty to the court to impartially investigate the



                                     5
   Case 3:20-cv-00796 Document 41 Filed 08/23/21 Page 5 of 13 PageID #: 306
       facts and make a report and recommendations to the court. The guardian ad litem
       serves as an agent of the court and is not an advocate for the respondent or any other
       party.

Tenn. Code. Ann. § 34-1-107(d)(1)

   Additionally, the Order also conferred upon the GAL the powers given by Noe v. True,

which states, in pertinent part:

               While it would not be at all improper for the court, upon
               consideration, to appoint the child’s attorney as her guardian ad
               litem, the mere presence of an attorney representing her in the action
               is insufficient of itself to protect her personal interests in the action
               … we note that an appointed guardian ad litem does not replace a
               general guardian for all purposes, but is, “appointed as a
               representative of the court to act for the minor in the cause, with
               authority to engage counsel, file suit, and to prosecute, control, and
               direct the litigation.”
507 F. 2d at 12.

       B.      C.I.G.H.’s Capacity to Sue

       Tenn. R. Civ. P. 17.03 states that:

               Whenever an infant or incompetent person has a representative, such
               as a general guardian, conservator, or other like fiduciary, the
               representative may sue or defend on behalf of the infant or
               incompetent person. If an infant or incompetent person does not
               have a duly appointed representative, or as justice requires, he or she
               may sue by next friend. The court shall at any time after the filing
               of the complaint appoint a guardian ad litem to defend an action for
               an infant or incompetent person who does not have a duly appointed
               representative, or whenever justice requires. The court may in its
               discretion allow the guardian ad litem a reasonable fee for services,
               to be taxes as costs.

Thus, under Tennessee law, minors are unable to sue, and must sue through a

representative, or guardian ad litem.

       C.      The Case at Bar

       The GAL points out that C.I.G.H. is a minor who lacks the capacity to sue on his own.

Docket No. 26, p. 2. Thus, the GAL argues, the Motion for Substitution must be granted,



                                     6
   Case 3:20-cv-00796 Document 41 Filed 08/23/21 Page 6 of 13 PageID #: 307
otherwise the suit would have to be dismissed.

           GAL asserts that she is the appropriate Plaintiff under Federal Rule of Civil Procedure

17(c) and Noe v. True1. Id. at 3. The GAL argues that the attorneys for the Petitioner “have taken

the position that they alone control the litigation and that the GAL has no ability to direct their

representation or terminate it.” Id. at 4. However, Rule 17(c)(2) gives a minor without a

representative the power to sue through a GAL, and Noe v. True states that the GAL has the

authority to “engage counsel, file suit, and to prosecute, control and direct litigation.” Id. at 3-4;

Fed. R. Civ. P. 17(c)(2); 507 F.2d at 12. Thus, the GAL argues, the attorneys for the Petitioner

cannot undertake the role of both counsel and client, and it is her role as the GAL to act as the

Plaintiff in the case at bar. Docket No. 26, p. 4.

           Finally, the GAL argues that substitution is appropriate under Fed. R. Civ. P. 17(a). Id. at

5. The GAL states, “when an action is brought in a representative capacity, but it is filed in the

name of the wrong party, Rule 17 permits the appropriate party to substitute as the Plaintiff in the

action.” Id. The GAL believes in order to best serve the interests of the child, it is important that

the litigation continue, and that she be substituted as the named plaintiff so that she may properly

exercise the power conferred upon her as GAL by Court Order. Id. at 6.

           The Petitioner responds in pointing out that the GAL was appointed with power under

Tenn. Code Ann. § 34-1-107(d), which states that a GAL “owes a duty to the court to impartially

investigate the facts and make a report and recommendation to the court,” and that the GAL “serves

as an agent of the court, and is not an advocate for the respondent or any other party.” Docket No.

34 pp. 1-2; Tenn. Code Ann. § 34-1-107(d)(1). The Petitioner acknowledges that under Noe v.

True a GAL has “authority to engage counsel, file suit, and to prosecute, control, and direct



1
    Which was incorporated into the powers conferred to the GAL under the Order


                                        7
      Case 3:20-cv-00796 Document 41 Filed 08/23/21 Page 7 of 13 PageID #: 308
litigation,” but urges that Noe v. True is distinguishable from the case at bar. Docket No. 34, p. 2;

507 F.2d at 12.

        The Petitioner argues that in Noe v. True, the plaintiff “did not have anyone duly appointed

to protect her interests; [but] C.I.G.H. does.” Docket No. 34, p. 2. The Petitioner references the

Child Advocate from the Young Center that was appointed pursuant to the Trafficking Victims

Protection Reauthorization Act (TVPRA), and argues that the Child Advocate is a sufficient

representative for the toddler, and has been advocating for C.I.G.H.’s best interests since C.I.G.H.

entered the United States. Id.

        Further, Petitioner states,

                If the GAL is substituted as the plaintiff in this case, C.I.G.H.’s
                attorney will be displaced by the GAL and will be prevented from
                proceeding in any meaningful way to ensure that his right to family
                unity and freedom from federal detention are not abrogated,
                pursuant to the federally appointed Child Advocate’s
                recommendations. Undersigned counsel concedes that she is not in
                the position to determine what is in C.I.G.H.’s best interests and has
                thus relied on the findings and recommendations of his federally
                appointed Child Advocate throughout these proceedings.
Id. at 3.

        Thus, the Petitioner concludes that the GAL should, “continue in her current capacity and

complete her investigation as to provide this Court with an impartial report and recommendation

regarding the best interests of this toddler Petitioner.” Id.

        In her reply, GAL points out that the Petitioner does not dispute that C.I.G.H. is not a

proper party under Rule 17 and that C.I.G.H. therefore does not have the capacity to sue in his own

name. Docket No. 36, p. 1. Further, the GAL argues, Petitioner did not oppose the Government’s

Motion for the Appointment of the GAL, and a problem developed “only after the GAL disagreed

with counsel for C.I.G.H.” Id. at 2.

        The GAL then states that although C.I.G.H.’s attorney may have “relied on the findings



                                      8
    Case 3:20-cv-00796 Document 41 Filed 08/23/21 Page 8 of 13 PageID #: 309
and recommendations” of the Child Advocate, the Child Advocate is not a sufficient substitute for

the GAL, given that a Child Advocate’s role is more limited than the role of the GAL. Id. The

Child Advocate does not have the power to make decisions on behalf of the child, and only serves

to make a recommendation regarding the best interests of the child. Id. Additionally, the GAL

questions whether the Petitioner’s counsel has actually been following the recommendations by

the Child Advocate, since the Child Advocate did not recommend Fredis Amilcar Guiza

Hernandez2 as a suitable placement for C.I.G.H. Id. at 3.

        Finally, the GAL disputes that the substitution would “deprive C.I.G.H. of his right to his

own attorney.” Id.; Docket No. 34, p. 3. Instead, the GAL states, substitution is necessary in order

to save the suit from dismissal for lack of an appropriate Petitioner party. Docket No. 36, p. 3.

        1.      Powers Conferred by Court Order Upon the GAL

        The GAL was appointed pursuant to Fed. R. Civ. P. 17(c), which, as discussed above,

grants a minor who is without a representative the power to sue through a next friend or GAL. Fed.

R. Civ. P. 17(c)(2). Thus, under Rule 17, the Rule by which the GAL was appointed, the GAL

has the power to act as a representative for C.I.G.H., given that C.I.G.H. is a minor and does not

have another representative. Id.

        By Court Order, the “Guardian Ad Litem shall have all the powers of a guardian ad litem

appointed under Tenn. Code Ann. § 34-1-107(d) and as directed in True v. Noe, 507 F. 2d 9.”

Docket No. 12, p. 1. As discussed above, and pointed out by the Petitioner, Tenn. Code Ann. §

34-1-107(d) directs that the GAL “serves as an agent of the court, and is not an advocate for the

respondent or any other party.” Tenn. Code Ann. § 34-1-107(d)(1). To substitute the GAL as the

Petitioner, however, would not violate the statute, since the GAL would not be acting as an


2
 The Motion to Amend asks that C.I.G.H. be released to Fredis Amilcar Guiza Hernandez, the adoptive brother of
C.I.G.H., given that the adoptive mother has returned to Honduras.


                                      9
    Case 3:20-cv-00796 Document 41 Filed 08/23/21 Page 9 of 13 PageID #: 310
advocate for the Petitioner. The GAL would instead be acting as a representative of C.I.G.H.3,

who has no other adequate guardian to act as a representative for him in this case.

        Noe v. True confers upon GAL the power to “engage counsel, file suit, and to prosecute,

control, and direct the litigation.” 507 F. 2d at 12. Thus, under the powers granted by Court Order,

the GAL does have the power to direct and control the litigation, including being substituted as

the named Petitioner, and the power to determine what amendments should be made to the

Petition.4

        Thus, Fed. R. Civ. P. 17(c) and the powers conferred upon the GAL by Court Order support

the GAL’s Motion for Substitution.

        2.       The Minor Does Not Have the Power to Sue

        As stated by the GAL and reiterated by the Government Respondents, C.I.G.H. is a minor

and lacks the capacity to sue. Tenn. R. Civ. P. 17.03; see also Vandergiff v. ParkRidge E. Hosp.,

482 S. W. 3d 545, 552 (Tenn. Ct. App. 2015); Bushby v. Massey, 686 S.W.2d 60, 62 (Tenn. 1984).

Fed. R. Civ. P. 17(a) allows, in a circumstance where the named party is not a real party in interest,

for a real party to be substituted into the action. Fed. R. Civ. P. 17(a)(3). As directed by Fed. R.

Civ. P. 17(c), the GAL may be substituted in this instance. Fed. R. Civ. P. 17(c)(2). Thus, a

substitution of a party with the capacity to sue and act as C.I.G.H.’s representative is necessary in

order to prevent the dismissal of this case.5 In this instance, the party that has the capacity to sue

and is the proper representative of C.I.G.H.’s interests is the GAL.

        Within their Memorandum in Support of Motion to Appoint Guardian Ad Litem, the

Respondents made it clear that, as a minor, C.I.G.H. lacks the capacity to sue in his own name,


3
  As directed by Fed. R. Civ. P. 17(c)(2).
4
  It appears the Petitioner’s counsel and the GAL disagree on the issue of the Motion to Amend (Docket No. 21), and
that the Petitioner’s counsel did not agree with GAL’s position on the amendment.
5
  The Petitioner did not dispute this point in his Response.


                                      10
    Case 3:20-cv-00796 Document 41 Filed 08/23/21 Page 10 of 13 PageID #: 311
and that they intended that the GAL “act for the minor,” as a “duly appointed representative.”

Docket No. 6, pp. 3-6. Despite the clear intent of the Respondents that the GAL act as a

representative for C.I.G.H., the Petitioner did not oppose the GAL’s Appointment. Petitioner’s

current opposition to the substitution of the GAL is misplaced.

        3.      The Child Advocate is Not a Sufficient Representative

        The Petitioner argues that the federally-appointed Child Advocate is a sufficient

representative of C.I.G.H.’s best interests, and that the GAL’s substitution is unnecessary, because

the Petitioner’s counsel listens to the recommendations given by the Child Advocate in making

decisions for the best interest of the child.

        The Child Advocate was appointed under 8 U.S.C.S. § 1232(c)(6), which provides:

                The Secretary of Health and Human Services is authorized to
                appoint independent child advocates for child trafficking victims
                and other vulnerable unaccompanied alien children. A child
                advocate shall be provided access to materials necessary to
                effectively advocate for the best interest of the child. The child
                advocate shall not be compelled to testify or provide evidence in any
                proceeding concerning any information or opinion received from the
                child in the course of serving as a child advocate. The child advocate
                shall be presumed to be acting in good faith and be immune from
                civil liability for lawful conduct of duties as described in this
                provision.

8 U.S.C.S. 8 § 1232(c)(6)(A).

        The statute does not expressly authorize a child advocate to represent the minor in

proceedings or control the litigation on behalf the child. Instead, the child advocate’s role is to

provide recommendations that advocate for the best interest of the child. Thus, the role for the

Child Advocate to play is limited in these proceedings, and does not fill the role intended to be

played by the GAL.

        The Child Advocate is merely able to make recommendations, and the Petitioner’s counsel




                                     11
   Case 3:20-cv-00796 Document 41 Filed 08/23/21 Page 11 of 13 PageID #: 312
is not required to listen to those recommendations made. As noted by the GAL in her Reply,

there is no concurrent recommendation from the Child Advocate supporting the Petitioner’s

Motion for Amendment that Fredis Hernandez is a suitable placement for C.I.G.H. Although the

Petitioner’s counsel claims that they have adhered to all recommendations made by the Child

Advocate, this highlights the problem that would stem from deeming the Child Advocate a suitable

substitution for the GAL: there would be no party controlling the litigation as a representative of

C.I.G.H. Instead, the litigation would be left in the control of the Petitioner’s counsel, who would

play the role of both client and attorney.

       Thus, Child Advocate is insufficient in this case where the minor child needs a

representative to act and control litigation on his behalf.

       4.      The GAL’s Substitution Does Not Subvert Petitioner’s Attorney’s Role

       The Petitioner argues that “if the GAL is substituted as the plaintiff in this case, C.I.G.H.’s

attorney will be displaced by the GAL and will be prevented from proceeding in any meaningful

way to ensure that his right to family unity and freedom from federal detention are not abrogated,

pursuant to the federally appointed Child Advocate’s recommendations.” Docket No. 34, p. 3.

This argument confuses the role of the GAL and the Petitioner’s attorney within these proceedings.

       The GAL has the power to act as a representative of C.I.G.H. and thusly direct and control

litigation on C.I.G.H.’s behalf in order to best serve C.I.G.H.’s best interest. This does not mean

that the GAL will act as C.I.G.H.’s attorney; just that the GAL will be able to speak on behalf of

C.I.G.H. to direct counsel and litigation. Thus, Petitioner’s counsel will not necessarily be

prevented from “proceeding in a meaningful way” to protect C.I.G.H.’s rights; Petitioner’s counsel

will only be prevented from having full reign over the litigation. The role of the attorney is to serve

their client, and in this case, the client is a minor. Thus, it is necessary to appoint a GAL to act as




                                     12
   Case 3:20-cv-00796 Document 41 Filed 08/23/21 Page 12 of 13 PageID #: 313
a representative for the child; not only to prevent the suit from being dismissed, but also to prevent

the attorney from acting as both client and counsel.

                                      III.    CONCLUSION

       For the reasons stated above, the Guardian Ad Litem’s Motion for Substitution (Docket No.

26) is GRANTED.

       IT IS SO ORDERED.


                                               _________________________________
                                               JEFFERY S. FRENSLEY
                                               United States Magistrate Judge




                                     13
   Case 3:20-cv-00796 Document 41 Filed 08/23/21 Page 13 of 13 PageID #: 314
